Case 2:91-cv-00589-CJC Document 630 Filed 12/06/13 Page1of22 Page ID#:270

o0 THN DH FP WO LH

NO NO PO HO HN WN KP KH NO RR Re ee ee ee ee
Oo nN ND A BR WD NY K§ COD OO DB IT Dn BR WH HPO KF OC

Kamala D. Harris

Attorney General of California
TIMOTHY R. PATTERSON
Supervisin. Depu Attorney General
State Bar No. 72209

110 West A Street, Suite 1100

San Diego, CA 92101

P.O. Box 85266

San Diego, CA 92186-5266

Telephone: (619) 645-2013

Fax: (619) 645-2012

E-mail: Tim Patterson @doj.ca.gov
Attorneys for Plaintiff State of Ca Tfornia,
ex. rel. California Department of Health Service,
Hazardous Substance Account, and Hazardous
Substance Cleanup Fund

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, WESTERN DISTRICT

 

 

 

 

Stal ATES OF AMERICA, | CASE NO. CV 91-00589 BRO
Plaintiffs, | JOINT STATUS REPORT
Vv Date: TBD
° Time: TBD
Courtroom: Spring Street 14 _
SHELL OIL COMPANY, et al., Judge: Hon. Beverly Reid
Defendants.
INTRODUCTION

This case was reassigned to the Honorable Beverly Reid O’Connell on

November 21, 2013. The parties submit this joint report pursuant to the Court’s

order of November 22, 2013, which requires a Joint Status Report “as to any

remaining claims and/or parties in this action.”

 
Case 2:91-cv-00589-CJC Document 630 Filed 12/06/13 Page 2of22 Page ID#:271

1 PARTIES
2 The two plaintiffs in this action to recover environmental cleanup costs are (1)
3 | the United States of America (“United States”) and (2) the State of California, ex
4 | rel. California Department of Health Services, Hazardous Account, and Hazardous
5 || Substance Cleanup Fund (“State”). The four remaining defendants are (1) Shell Oil
6 | Company, (2) Union Oil Company of California, (3) Atlantic Richfield Company
7 | and (4) Texaco, Inc. (collectively, the “Oil Companies”).
8 SUMMARY OF LITIGATION AND REMAINING CLAIMS
9] I. CASE HISTORY
10 The McColl Superfund Site (“McColl Site”) is located in Fullerton, California.
11 | During World War II, the real property that now comprises the McColl Site
12 | received oil refinery wastes generated by the Oil Companies in the production of
13 | civilian petroleum products and military petroleum products, including high-octane
14 | aviation fuel (“avgas”) manufactured for the United States. In the 1980’s and
15 | thereafter, the United States, the State and the Oil Companies incurred costs
16 | addressing the investigation and cleanup of the acid sludge and other hazardous
17 || substances at the McColl Site. A long-term remedy was selected and implemented
18 | during 1995-1997, involving a capping and containment of the hazardous
19 | substances, plus a perpetual gas collection and treatment system and groundwater
20 | monitoring. The Oil Companies subsequently preformed the remedy at the Site.
21 | Costs continue to be incurred by the United States, the State and the Oil Companies
22 | in relation to the ongoing implementation of the remedy.
23 In 1991, the United States and the State (collectively, “government plaintiffs”)
24 | filed suit against the Oil Companies (and other entities that have settled out of the
25 | case), to recover the government plaintiffs’ respective environmental response costs
26 || related to McColl Site, pursuant to the Comprehensive Environmental, Response,
27 || Compensation, and Liability Act (“CERCLA”), 42 U.S.C. §§ 9601, et seq. Also
28 | in 1991, the Oil Companies counterclaimed against the United States.
2

 

 
Case 2:91-cv-00589-CJC Document 630 Filed 12/06/13 Page 3of 22 Page ID #:272

1 In 1993, the Court granted the government plaintiffs’ Motions for Summary
2 | Judgment, holding the Oil Companies jointly and severally liable under CERCLA,
3] 42US.C. § 9607(a), for environmental response costs related to contamination at
4 | the McColl Site, in United States of America, et al. v. Shell Oil Company, et al.,
5 | 841 F. Supp. 962 (C.D. Cal. 1993). The United States Court of Appeals for the
6 | Ninth Circuit affirmed this judgment on June 28, 2002. (Docket No. 505.)
7 On December 12, 1994, the Court entered a consent decree entitled “Partial
8 || Consent Decree Among Plaintiffs and Oil Company Defendants Regarding Certain
9 | Cost Claims and Order” (“1994 Consent Decree”). (Docket No. 270). Pursuant to
10 | the 1994 Consent Decree, the Oil Companies paid $13,248,000.00 to resolve the
11 | United States’ claim for “Past United States Response Costs,” and $4,752,000.00 to
12 | resolve the State’s claim for “Past State Response Costs,” which generally
13 | consisted of costs incurred by the United States and the State during the 1980’s and
14 | aportion of 1990. In Section VII of the 1994 Consent Decree, the parties to the
15 | decree acknowledged that the Court’s September 28, 1993, judgment and order
16 | constituted a declaratory judgment pursuant to Section 113(g)(2) of CERCLA in
17 | favor of the United States and the State against the Oil Companies for “Ongoing
18 | Response Costs,” as defined in the 1994 Consent Decree. The parties further
19 | acknowledged in the 1994 Consent Decree the rights of the United States and the
20 | State to seek to recover these Ongoing Response Costs in this case and the rights of
21 | the Oil Companies to challenge such costs. 1994 Consent Decree, pp. 6, 13.
22 | However, the parties also agreed that “[n]o such final judgment shall be entered
23 | against the [Oil Companies] prior to entry of judgment on the counterclaims
24 | asserted by these defendants in this action.” Jd. at § 14.
25 On September 18, 1995, the Court adjudged the United States, in its capacity
26 | as acounterclaim defendant, to be a liable party with respect to the McColl Site
27 | pursuant to Section 107(a)(3) of CERCLA, 42 U.S.C. § 9607(a)(3). (Docket No.
28 | 379.)
3

 

 
Cas@ 2:91-cv-00589-CJC Document 630 Filed 12/06/13 Page 4of22 Page ID #:273
1 On August 11, 1998, the Court issued a Memorandum and Order finding the
2 | United States to be responsible for 100 percent of the response costs incurred by the
3 | government plaintiffs in relation the McColl Site. (Docket No. 478.)
4 A stipulated Final Judgment Pursuant to Rule 54(b) FRCP was entered on
5 | October 13, 1999, allowing the CERCLA liability issues of the Oil Companies and
6 | the United States to be appealed. (Docket No. 489.)
7 On June 28, 2002, the United States Court of Appeals for the Ninth Circuit
8 | affirmed this judgment with respect to the liability of the Oil Companies for
9 | CERCLA response costs related to the McColl Site and also the liability of the
10 | United States with respect to wastes at the. McColl Site resulting from the
11 | production of benzol. The Court also ruled that United States was not liable under
12 | CERCLA as an arranger for disposal of the non-benzol wastes, and therefore the
13 || trial court’s allocation of 100 percent of the liability for all such wastes at the site
14 | was moot. United States, et al. v. Shell Oil Company, et al., 294 F.3d 1045, 1048-
15 } 1049, 1059-1061 (9th Cir. 2002). Two petitions for certiorari subsequently filed by
16 | the Oil Companies were denied by the Supreme Court of the United States on
17 | January 13, 2003.
18 In August 2003, to resolve the Oil Companies’ CERCLA-based counterclaims
19 | against the United States, the Oil Companies and the United States stipulated that
20 | the United States’ share of legal responsibility under CERCLA for response costs
21 | related to the McColl Site, based on the United States’ liability pursuant to
22 | CERCLA for the benzol wastes deposited at the Site, is 6.25%. Joint Request For
23 | Status Conference (Aug. 12, 2003) at 1-2, n. 1 (Docket No. 507). On October 29,
24 | 2003, this Court denied the request of the Oil Companies to conduct further
25 allocation proceedings regarding the non-benzol wastes at the Site and associated
-26 || response costs (Docket No. 510).
27 As a result of the stipulation and the Court’s ruling described above, the Oil
28 || Companies are legally responsible under CERCLA for 93.75 percent of the
4

 

 
Cas@ 2:91-cv-00589-CJC Document 630 Filed 12/06/13 Page5of22 Page ID#:274

oo mH TN N HH BP WD YN

NO NO NO NO NH HN HN ND NO Be ee Re ee Se ee ee
aon DN ON FP WY NY KH CO CO Wns HDR NA BP WW YPBO KH CO

 

response costs incurred by the United States and the State in relation to the McColl
Site. With respect to the costs previously resolved pursuant to the 1994 Consent
Decree, the United States is responsible under CERCLA for reimbursing the Oil
Companies for the United States’ 6.25 percent share of the costs paid by the Oil
Companies to the State pursuant to the 1994 Consent Decree.

- On April 8, 2005, pursuant to the Court’s Amended Order to Transfer Certain
Counterclaims to the Court of Federal Claims, all remaining counterclaims filed by
the Oil Companies against the United States were dismissed or transferred to the
Court of Federal Claims. (Docket No. 529.)

During February 2006, the United States and the State each filed motions for
summary judgment for their respective CERCLA response costs incurred generally
from mid-1990 through June 1994. The Oil Companies filed an ex parte
application to deny or stay the motions on February 22, 2006. The Hon. Robert J.
Kelleher issued a Minute Order on March 20, 2006, finding that “the Motions for
Summary Judgment are appropriate for decision without oral argument.” The
motions were deemed submitted and the hearing date was vacated. (Docket No.
583.)

The United States, the State and the Oil Companies filed a Joint Request for
Decisions on Submitted Motions for Summary Judgment on December 5, 2006.
(Docket No. 593.) On January 31, 2007, the parties filed a Joint Request to Chief
Judge to Establish an Intended Decision Date Pursuant to L.R. 83-9.4. (Docket No.
594.) On May 21, 2007, Chief Judge Stotler issued an Order Establishing an
Intended Decision Date, which required a decision to be rendered on the plaintiffs’
summary judgment motions no later than 120 days after the decision by the Court
of Federal Claims, in Washington, D.C., on certain dispositive motions in that court
(i.e., the Oil Companies’ motion for summary judgment and the United States’
motion to dismiss) becomes final. (Docket No. 598.) On June 26, 2007, the State
filed a Motion for Modification of Intended Decision Date and the United States

 
Cas@ 2:91-cv-00589-CJC Document 630 Filed 12/06/13 Page 6of22 Page ID #:275

o ea ND A FP W NY

NO NO NO WH ND NH HL ND NO HB HB ee Se Se Se SS eS
ao tN DN OH BR WD NYO KH OD OO Bn HDB vA BP WO NO * OS

 

filed a Motion for Reconsideration of Intended Decision Date on June 27, 2007.
The Oil Companies opposed the motions. (Docket Nos. 599, 600, 604.)

_ Chief Judge Stotler issued a Tentative Ruling on Law & Motion Matters on
August 31, 2007, stating the Chief Judge will consult with the judge assigned to the
summary judgment motions. (Docket No. 608.)

On October 1, 2007, Judge Kelleher issued a Minute Order vacating the
Court’s order of submission dated March 20, 2006, stating that the Court had
signed the Oil Companies’ Proposed Order Granting Defendants’ Ex Parte
Application for an Order Denying Without Prejudice Plaintiffs’ Premature Motions
for Summary Judgment. This order denied the United States’ and the State’s
motions for summary judgment without prejudice and further provided that “No
party to this action shall file any dispositive motions, including motions for
summary judgment, until further order of the Court, which order may be requested
by any party by noticed motion.” (Docket No. 610.) Chief Judge Stotler took
judicial notice of this order and, on October 4, 2007, denied as moot the
government plaintiffs’ motions for modification and reconsideration. (Docket No.
611.)

On July 10, 2009, the State resolved its CERCLA cost recovery claim against
the United States, in its capacity as a liable party for 6.25 percent of the State’s
response costs related to the McColl Site, for the period of October 1990 through
June 2008, with the entry of a Partial Consent Decree. (Docket No. 619.) The
alleged liability of the Oil Companies for 93.75 percent of the State’s response
costs for this time period was not resolved.

On March 16, 2012, the State resolved its CERCLA cost recovery claim
against the United States, in its capacity as a liable party for 6.25 percent of the
State’s response costs related to the McColl Site, for the period of July 2008
through June 2011, with the entry of another Partial Consent Decree. (Docket No.

 
Case 2:91-cv-00589-CJC Document 630 Filed 12/06/13 Page 7 of 22 Page ID #:276

ome ND AW FBP WY NNO

NO NO NO NH WN HY HN NN NO #H HB He = ee ee Se eS ee
on nA HN A BW NYO | OD OO DW NAY HD A BP WW YPBO K CO

 

622.) The alleged liability of the Oil Companies for 93.75 percent of the State’s
response costs for this time period was not resolved.

In Washington, D.C., the Oil Companies’ non-CERCLA, contract-based _
claims against the United States concerning the production of avgas have been
litigated since 2005 in both the Court of Federal Claims and the United States Court
of Appeals for the Federal Circuit. In those proceedings, the Oil Companies have
sought in excess of $84 million in alleged costs and interest from the United States.
In 2008 and 2009, Senior Judge Smith of the Court of Federal Claims issued final
decisions in favor of the Oil Companies as to both liability and damages. See Shell
Oil Company, et al. v. United States, 80 Fed. Cl. 411 (Fed. Cl. 2008); 86 Fed. Cl.
470, 475 (2009). Subsequently, however, Judge Smith discovered and informed the
parties that his wife owned a small amount of stock in a parent company of two of
the Oil Companies. On the United States’ motion, the United States Court of
Appeals for the Federal Circuit vacated these judgments and required Judge Smith
to recuse himself from the case. Shell Oil Company, et al. v. United States, 672
F.3d 1283 (Fed. Cir. 2012). On January 14, 2013, a different Court of Federal
Claims judge, Judge Wheeler, granted summary judgment for the United States.
Shell Oil Company, et al. v. United States, 108 Fed. Cl. 422 (2013). The Oil
Companies have appealed that decision to the United States Court of Appeals for
the Federal Circuit. Briefing in that appeal, Shell Oil Company, et al. v. United
States, Case No. 2013-5051, is now complete and the matter is set for oral
argument on January 7, 2014.

Il. REMAINING CLAIMS

The remaining claims in this case consist of (1) the United States’ claim under
CERCLA for environmental response costs incurred generally between July 1,
1990 and June 30, 2012, plus related prejudgment interest, in an amount that the
United States alleges totals approximately $43 million and (2) the State’s claim

under CERCLA for environmental response costs incurred generally between

 
Case 2:91-cv-00589-CJC Document 630 Filed 12/06/13 Page 8 of 22 Page ID #:277

oo ODN NWN A BR WW NO

NY NY NY WN WN YN NN NY NO KR RB Re Re ee ee ee
Hn ND A BPW NY KY OD OO WB wy DB WA BP WO NBO KH OC

 

October 1990 and the June 30, 2013, plus related prejudgment interest, in an
amount that the State alleges totals approximately $5.7 to $6 million. As noted
above, the State has settled with the United States for 6.25 percent of the State’s

claim for costs incurred between October 1990 through June 2011.

Ill. GOVERNMENT PLAINTIFFS’ STATEMENT

A. This Case Has Been Delayed Too Long
The key question for the Court to resolve at this juncture is whether the United

States and the State can proceed with their outstanding cost recovery claims in this
case, while the Oil Companies’ contract-related claims against the United States are
pending in the United States Court of Appeals for the Federal Circuit in
Washington, D.C. The United States and the State wish to proceed; the Oil
Companies do not. |

The Oil Companies’ contract-based counterclaims that were transferred away
from this case to the Court of Federal Claims over eight years ago, in April 2005,
are still being litigated, currently in the Federal Circuit Court of Appeals. There is
no well-defined time frame for that separate litigation to end. It is no longer
reasonable to prevent the United States and the State from pursuing their cost
claims in this case, due to that separate non-CERCLA litigation, especially in light
of the fact that on several occasions throughout the long history of this case this
Court has recognized the government plaintiffs’ unfettered rights to proceed to
judgment, notwithstanding the Oil Companies’ breach of contract counterclaims, as

described below.

B. When the Court Granted Summary Judgment for the Plaintiffs
in 1993, It Recognized Congress’ Intent to Allow Government
Plaintiffs to Recover Their Costs While Counterclaims Are

ending

The law of CERCLA, including the law of this case, provides for the

resolution of government cost recovery claims before counterclaims are resolved.

 
Case 2:91-cv-00589-CJC Document 630 Filed 12/06/13 Page 9 of 22 Page ID #:278

So ON HD FP WY YN

NO NO NO NO NH NY HN HN HO KR HB HB HB Se Se Se Se SS
DH nN DB nA FBP WH NY HY! DBD OO OH A BR WOW NO FF CO

 

When granting summary judgment to the United States and the State in 1993, the
Court stated:

CERCLA clearly provides that cost recovery claims can be sought
before counterclaims are resolved. And the legislative history of
CERCLA indicates that Congress intended for the Governments to be
entitled to its costs prior to the resolution of any counterclaims or cross-

~ claims for contribution.
United States v. Shell Oil Co., 841 F.Supp. 962, 975 (C.D. Cal. 1993.)
This Court further stated:

The possibility of partial liability on the part of the governments
ought not to stand as a bar to expeditious recovery of response costs, as
Defendants will be reimbursed in the event the governments are found
liable. U.S. v. Western Processing Company, 748 F.Supp. 930, 939-40
(W.D. Wash. 1990). The Court is of the opinion that allowing the
governments to recover their response costs before resolving Defendants’
counterclaims and cross-claims will not unduly prejudice Defendants as
they will be reimbursed in the future for any costs paid to the Superfund
that are properly attributable to other parties. Jd.

These explicit rulings are inconsistent with the delay of this litigation that has
been in effect since 2007, when the plaintiffs’ motions for summary judgment to
recover costs incurred from 1990 forward were dismissed without reaching the

merits of the motions.

C. The 1994 Consent Decree Allows the United States and the State
to Recover Their Ongoing Response Costs

Ever since December 1994, when this Court approved the 1994 Consent
Decree and declared that its Judgment and Order of September 28, 1993, constitutes
a declaratory judgment for “Ongoing Response Costs,” this Court has recognized

the rights of the United States and the State to pursue their response costs. 1994

 
Case

0 mH N NHN nH BP WO NO

N NY NY NY NY NY NY WN NO Se Fee Re eS Se RS RS ee
Oo aI HD A BP W NO -§F§& DT OO DW aI HD A BP WO PO KH OC

 

2:91-cv-00589-CJC Document 630 Filed 12/06/13 Page 10 of 22 Page ID #:279

Consent Decree) J 10, p. 13.(Docket No. 270.) Paragraph 19 of the 1994 Consent
Decree provides: “Settling Defendants likewise agree they will not seek to stay or
otherwise delay the supplemental response cost claim and further agree that the
supplemental claim may proceed simultaneously with the counterclaims.” 1994
Consent Decree § 19, p. 19, 1. 22-26. Nevertheless, since 2006 the Oil Companies
have continued to attempt to do exactly the opposite.

When the United States and the State respectively moved for summary
judgment in 2006, they were not acting in contravention of Paragraph 14 of the
1994 Consent Decree (Docket No. 270, p. 16, lines 14-19), as the Oil Companies
assert, because they were not seeking a final judgment to terminate all of their
claims for cost recovery in the District Court. Instead, the government plaintiffs
were seeking summary judgments for specific sets of their respective response costs
incurred up through June 2004. Additional United States and State response costs
had been — and still are being -- incurred and the government plaintiffs have the
right to seek them as Ongoing Response Costs pursuant to the 1994 Consent Decree.

Any continued delay is wholly unwarranted, especially in light of the
overarching reservation of rights the government plaintiffs included in Paragraph
12 of the 1994 Consent Decree, which provides: “The United States and State
reserve, and this Consent Decree is without prejudice to, all rights against Settling
Defendants with respect to all other matters, including, but limited to: . . . liability
for Ongoing Response Costs; ....” (1994 Consent Decree { 12, p. 14), 1. 20-23; p.
15, 1. 10.)

In summary, Paragraphs 19 and 12 of the 1994 Consent Decree establish the —
rights of the United States and the State to proceed with their unresolved claims for

response costs. Now is the time to move this case forward.

10

 
Case

0 ON A WH BR ww

NO NO BB NHN HN KP HD PO HNO Re mw ee
aon nt HD nA BW NY KH DO Bn HDB HT BR W NNO KF OC

 

2:91-cv-00589-CJC Document 630 Filed 12/06/13 Page 11 of 22 Page ID #:280

D. The 1999 Final Judgment Continues to Recognize the
Government Plaintiffs’ Rights to Obtain Judgments for Their
osts

The stipulated Final Judgment Pursuant to Rule 54(b) FRCP entered on
October 13, 1999, contains a recital approved by the Oil Companies stating “the
parties agree that Plaintiffs [the United States and the State] retain all of their rights
to pursue their claims for response costs to judgment in this Court,....” Final.
Judgment Pursuant to Rule 54(b) FRCP, p. 4, , 1. 1-3 (emphasis added). (Docket
No. 489.) It is improper for the Oil Companies to attempt to argue away a
provision to which they fully agreed, nearly five years after entry of the 1994
Consent Decree, and which the Court adopted in the form of a final judgment
pursuant to Rule 54(b) of the Federal Rules of Civil Procedure. During 1999, the
government plaintiffs included this specific provision in the final judgment to
ensure that their rights to pursue their respective ongoing response costs, as
recognized in the 1994 Consent Decree, remained in full force and effect after entry
of a final judgment on other issues. The judgment has not been amended or

abrogated in any way since 1999.

E. The Oi] Companies Breach of Contract Counterclaims Were
Removed from this Case in April 2005

This Court no longer possesses jurisdiction over any of the counterclaims filed
by the Oil Companies against the United States. On April 8, 2005, all remaining
counterclaims were dismissed or transferred to the Court of Federal Claims by the
Court’s Amended Order to Transfer Certain Counterclaims to the Court of Federal
Claims. (Docket No. 529, p. 2.) The transfer was unequivocal, with no conditions
connecting this case to any proceeding in Washington, D.C., much less delaying
this case in any way. Therefore, there is no basis for binding the United States and
the State, as plaintiffs in a CERCLA cost recovery case pending in the U.S. District
Court in Los Angeles, to an entirely separate breach of contract lawsuit the Oil

Companies are pursuing against the United States. Ever since December 1994, the

11

 
Case, 2:91-cv-00589-CJC Document 630 Filed 12/06/13 Page 12 of 22 Page ID #:281

o OND A BW NO

NO NY NY NH NH NY NHN NN NO KH HH HH Re He Re Se ee
oO nN NWN OA FP WD NY | DO WB NA HD WA BP WO YB KH CO

 

Oil Companies have been liable to the United States and the State for Ongoing
Response Costs, subject to the liability stipulation between the United States and
the Oil Companies entered into in August 2003. (Docket No. 507.) The Oil
Companies will remain liable for Ongoing Response Costs until all such claims of
the government plaintiffs are settled or adjudicated. Therefore, this Court should
not allow the mere existence of the Oil Companies’ unresolved litigation in the
Court of Federal Claims and the Court of Appeals for the Federal Circuit, over
which this Court has no jurisdiction, to serve as road block to the United States’

and the State’s legitimate pursuit of their outstanding environmental response costs.

F. Indemnification Ri ights, If Any Exist, Are Legally Irrelevant to.
the Oil Companies CERCLA) Liability

The basic contention of the Oil Companies has been that a ruling against the
United States in the contract claim litigation occurring in the Court of Appeals for
the Federal Circuit could effectively moot this action. This is legally incorrect.
The Oil Companies have been found to be liable under the Comprehensive
Environmental Response, Compensation, and Liability Act (CERCLA), 42 U.S.C.
§ 9607, for the environmental response costs the United States and the State have
incurred, and will incur, in a manner not inconsistent with the National
Contingency Plan, 40 C.F.R. Part 300, in connection with the McColl Site. All
appellate avenues on the major issue of the Oil Companies’ CERCLA liability have
been exhausted. Thus, the Oil Companies will be liable under CERCLA regardless
of the outcome of the contract litigation and until all judgments liquidating the
United States’ and the State’s claims for CERCLA response costs have been
entered and resolved. A contractual right of indemnity, if found to exist by the
Court of Federal Claims in favor of the Oil Companies, unequivocally is not a
defense to the Companies’ existing CERCLA liability to the government plaintiffs.
As CERCLA plainly states:

12

 
Case

So Oa NN NH A BP WO HPO

Oo NO NYO HNP WH HN HD HN HN RB Se Se Re Se Se Se ee ee Le
on NH A FP W NY KH DO Bn DBD WA BW NBO KH CO

 

2:91-cv-00589-CJC Document 630 Filed 12/06/13 Page 13 of 22 Page ID #:282

No indemnification, hold harmless, or similar agreement or
conveyance shall be effective to transfer from the owner or operator of
any vessel or facility or from any person who may be liable for a release
or threat of release under this section, to any other person the liability
imposed under this section.

42 U.S.C. § 9607(e)(1).
Thus, the issue of whether the Oil Companies might obtain a right of

- indemnity against the United States is irrelevant.

G. Conclusion

In summary, there is no legal reason to delay this matter by tying it to the
outcome of contract litigation in another case. The United States and the State
respectfully request the Court to allow them to proceed with their outstanding cost
recovery claims. Ifthe Court believes further briefing is appropriate or a hearing
before the Court would be helpful, the government plaintiffs are ready to respond.
IV. STATE’S SUPPLEMENTAL STATEMENT

The State is in a unique position here. The Oil Companies never filed any
counterclaims against the State, based on contracts or any other matter. The
contract-based and other counterclaims filed by the Oil Companies against the
United States in 1991 were at issue, but never litigated against the United States for
14 years, until April 2005, when the contract claims were transferred belatedly, but
appropriately, to the Court of Federal Claims. The State is not a party to that
contract litigation. Based on the rulings, consent decrees and stipulation in this
case, as discussed above, the Oil Companies will be liable to the State under
CERCLA until the Oil Companies’ liability for 93.75 percent of the State’s
recoverable CERCLA response costs incurred generally since October 1990 is
resolved in the instant litigation. Moreover, regardless of the eventual outcome of
the contract claim litigation in Washington, D.C., the Oil Companies never will

possess a right of indemnification against the State for any outstanding costs related

13

 
Case 2:91-cv-00589-CJC Document 630 Filed 12/06/13 Page 14o0f22 Page ID #:283

o me IN Dn FP WW NO

NY NYO NY WH NH HN HN HN HY HR Be Se Be ee eRe ee ee ee ee
ao aI NWN nA BP WH NY KY OD OO Ws HR NA FBP WW NO KF CO

 

to the McColl Site. Given these circumstances, there is no equitable basis for
delaying this case as to the State.

If the Court allows this case to proceed, as a first step, the State requests the
Court to order mediation between the State and Oil Companies, pursuant to the
Court-Directed ADR Program. Given the State’s unique position here, mediation is
a reasonable initial means of resolving the State’s relatively minor cost claim in this
matter. The State successfully has settled almost all of its claims against the United
States regarding the United States’ 6.25 percent share of liability for the States’
costs related to the McColl Site. As it always has been during this litigation, the
State is very interested at this time in resolving the Oil Companies’ 93.75 percent
share of the liability for State response costs. A court-ordered settlement effort
between the State and the Oil Companies at this time would promote the efficient
administration of this case.

V. OL COMPANIES’ STATEMENT

This action has been stayed since 2007 to allow the Oil Companies’ claims
against the United States to be resolved in the Court of Federal Claims prior to
further proceedings in this action. For many years, the United States and State have
made no effort whatsoever to overturn or terminate the stay. However, they are
now attempting, through this Joint Status Report, to capitalize on the recent re-
assignment of this action by seeking to re-litigate issues that have already been
resolved by the prior judge. These efforts should be denied.

The stay should remain in place for four reasons: (A) the United States and
State, in accepting the prior $18 million payment from the Oil Companies for
certain costs, already agreed that no judgment on any of their additional costs will
be entered prior to entry of a judgment on the Oil Companies’ claims against the
United States; (B) continuation of the stay will advance judicial economy; (C) the
original judge on this case, in consultation with the former Chief Judge of this

Court, already determined, based on the same arguments presented in this Joint

14

 
Case 2:91-cv-00589-CJC Document 630 Filed 12/06/13 Page 15o0f22 Page ID #:284

So Oa NN DN nH FF WD NY

BO NO NO NO WN NY NY NN NO KH HS Ke He Ree ee ee ee
oO nN HN NH BPW YN KH CO OO Wn HDB NA BP WW PB KH CO

 

Status Report, that this action should be stayed; and (D) since the stay was granted,
the Oil Companies have continued to pursue their claims against the United States
diligently, and proceedings are moving forward in the Court of Federal Claims and

the U.S. Court of Appeals for the Federal Circuit. |

A. The United States and State Should Not Be Allowed to Renege
on Their Agreement Not to Seek a Judgment on Their
Remaining Claims Prior to a Judgment on the Oil Companies’

aims

In 1994, the Oil Companies paid $18 million to the United States and State to
resolve claims for certain costs at the McColl site. See 1994 Consent Decree. In
exchange, the United States and State agreed not to seek a final judgment to require
the Oil Companies to pay any additional response costs prior to a judgment on the
Oil Companies’ claims against the United States. Jd. The 1994 Consent Decree
provides:

“No final judgment has been entered in this action from which
an appeal as of right may be taken and, by agreement of the
parties, no such final judgment shall be entered against the
Settling Defendants prior to the entry of judgment on the
counterclaims asserted by these defendants in this action.”
(Emphasis added.) 1994 Consent Decree, { 14.

This agreement made good sense at the time and still makes sense today. As
noted above, the Oil Companies are pursuing contract claims against the United
States that could both effectively moot the United States’ cost claims and obviate
any need for the Oil Companies to challenge the State’s costs. If the Oil
Companies prevail on their claims against the United States now pending in the
Federal Circuit, the United States will be responsible for the costs at issue in this
action, including the State’s costs.

While the United States and State accepted the $18 million under the terms of

the 1994 Consent Decree, they have since attempted to breach their agreement by

15

 
Case, 2:91-cv-00589-CJC Document 630 Filed 12/06/13 Page 16 of 22 Page ID #:285

oo A NN DBA FP WD NO

NY NO NO NBO NH NY NY HN YN BR Re Re Ree ee ee ee
on HN ON HBP WY NY KK CO OHO Wn HD NH BP WO NO KF OQ

 

seeking a judgment on their claims prior to the resolution of the Oil Companies’
claims. In December 2005, the United States and State notified the Oil Companies
that they intended to seek summary judgment on their additional alleged costs. See
Declaration of Peter R. Taft in Support of Defendants’ Opposition to United States’
Ex Parte Application for Issuance of a Protective Order, § 10 (Docket No. 563).
The Oil Companies noted in a subsequent meet and confer that these motions
would violate the 1994 Consent Decree, since the Oil Companies’ claims against
the United States were still pending, and proposed that the parties seek this Court’s
guidance on this issue in a joint status conference request. See Declaration of
Cynthia L. Burch in Support of Defendants’ Opposition to United States’ Ex Parte
Application for Issuance of a Protective Order, 4 10 (Docket No. 562). The United
States and State refused and filed their motions in February 2006. (Id.; see also
Docket No. 532.) The Oil Companies opposed those motions as premature and
were required to expend substantial time and money doing so.

In numerous motions, oppositions and status reports filed with this Court since
2006, the United States and State have asserted various arguments, including the
arguments repeated above, seeking to renege on their prior agreement. None of
their arguments has merit.

First, the United States and State have argued that paragraph 14 of the 1994
Consent Decree was rendered void by a “whereas” provision in a 1999 order
(Docket No. 489), which recites that plaintiffs “retain all of their rights to pursue
their claims for response costs to judgment in this Court.” The Oil Companies have |
never argued that the United State and State lost their right to pursue their claims.
The question is timing. The 1994 Consent Decree expressly provides that a
judgment on the United States and State’s additional costs must await entry of a
final judgment on the defendants’ claims. 1994 Consent Decree, § 14. The 1999

Order does not alter that agreement.

16

 
Case, 2:91-cv-00589-CJC Document 630 Filed 12/06/13 Page 17 of22 Page ID #:286

o Oo nN HD HH FP WD YN

NO NO NO NYO WH HN HN HD NY He eee ee ee Re eo
mon nN Nn A FP W NY KK DOD OO fBns DB nA FBP WW NO KK CO

 

Second, the United States and State argue that paragraph 14 of the 1994
Consent Decree should be disregarded, asserting that it conflicts with paragraph 19,
which provides: “Settling Defendants likewise agree that they will not seek to stay
or otherwise delay the supplemental response cost claim and further agree that the
supplemental cost claim may proceed simultaneously with the counterclaims.” In
fact, the two provisions can be reconciled. Paragraph 19 merely provides that the
cost claims “may proceed simultaneously with the counterclaims,” while paragraph
14 addresses the timing and order of the judgments on those claims. Whether or
not it is possible under paragraph 19 for the parties to pursue these claims
simultaneously through discussions or discovery, the United States and State cannot
seek a judgment on their claims until a judgment has been issued on the Oil
Companies’ contract claims. Since a judgment on the Oil Companies’ contract
claims could effectively moot the claims against the Oil Companies in this
litigation, it still makes good sense to maintain the stay as described in greater
detail below.

The government plaintiffs also cite various authority for the proposition that
contractual indemnification rights are no defense to CERCLA claims. However,
none of those cases support the proposition that the parties cannot decide among
themselves the order in which they will seek judgment against each other, as the
parties here did in agreeing to the terms of the 1994 Consent Decree.

Since the United States and State already agreed under the terms of the 1994
Consent Decree not to seek a judgment on their claims prior to entry of judgment
on the Oil Companies’ claims against the United States, they should not be allowed
to breach that agreement and circumvent the decree now. |

B. Continuation of the Stay Would Advance Judicial Economy

A court has inherent authority to manage its docket and schedule in
furtherance of judicial economy. See Fed. R. Civ. P. 16(b); Zivkovic v. Southern
California Edison Co., 302 F.3d 1080, 1087-88 (9th Cir. 2002) (district courts have

17

 
Cas@2:91-cv-00589-CJC Document 630 Filed 12/06/13 Page 18 of 22 Page ID #:287

 

1 | broad discretion to modify the trial schedule); Stewart v. Ragland, 934 F.2d 1033,
2 | 1042 (9th Cir. 1991) (“A trial judge is given broad discretion in supervising the
3 | pretrial phase of the litigation. . . .”); Rivers v. Walt Disney Co., 980 F. Supp. 1358,
4 | 1360 (C.D. Cal. 1997) (powers to stay or otherwise manage proceedings are within
5 | the trial court’s discretion). Under the circumstances, it makes good sense for this
6 | Court to continue the stay of this action to advance judicial economy.
7 As noted above, the parties and Court already have agreed that no judgment
8 || will be issued on the claims of the United States and State prior to a judgment on
9 | the Oil Companies’ claims. Therefore, even if the United States and State are
10 | allowed to conduct fact and expert discovery and engage in motion practice at this
11 | time, any judgment on the claims in this action would still need to await a final
12 | judgment on the Oil Companies’ claims in the Court of Federal Claims and Federal
13 | Circuit. Since a judgment on these claims could moot the United States’ claims
14 || while obviating any need for the Oil Companies to challenge the State’s costs, any
15 | further proceedings in this action or court-ordered mediation could constitute a
16 | complete waste of time, money and resources.
17 Under the circumstances, this Court can and should enforce the 1994 Consent
18 | Decree by exercising its discretion to continue the stay in this action to avoid the
19 | substantial waste of resources that could result if this litigation resumes or the
20 || parties are directed to court-ordered mediation prior to a resolution of the
21 | proceedings in the Court of Federal Claims and Federal Circuit.
22 C. Judge Kelleher, in Consultation with the former Chief Judge of
23 Presented Here That This Action Should Be Stayed.
24 After reviewing the arguments of the parties (including the same arguments
25 | now put forward by the United States and State above), Judge Kelleher previously
26 | determined that the United States and State should not be allowed to proceed with
27 | their motions for summary judgment, and that this litigation should be stayed.
28 | (Docket Nos. 609, 610.) On October 1, 2007, Judge Kelleher signed the Oil
18

 
Case

o ON DBD WH BPW NO

BO WHO NO WN PD KO KH KN HNO RR wm ee ee
oN DN A FP W NY KH CO OO Ww HD NA BP WO NBO KF OC]

 

2:91-cv-00589-CJC Document 630 Filed 12/06/13 Page 19 of 22 Page ID #:288

Companies’ proposed order granting their Ex Parte Application, denying the
United States’ and State’s motions for summary judgment on their costs and staying
further proceedings. (Docket No. 610.)

Judge Kelleher’s decision to stay this action followed a hearing on the parties’
various motions presided over by Judge Stotler, the former Chief Judge of this
Court. (See Docket No. 609.) In issuing his order, Judge Kelleher expressly noted
that he issued the order for a stay “after meeting and extensive discussion with
Chief Judge Stotler.” Jd.

Therefore, the issues raised in the United States’ and State’s portion of this
Joint Status Report were previously fully argued, considered and resolved by the
prior judge. Based on these arguments, the judge had determined to maintain the
stay consistent with the intent of the 1994 Consent Decree and considerations of

judicial economy.

D. The Oil Companies Have Diligently Pursued Their Claims
Against the United States

Since before the stay was first granted in this action, the Oil Companies have
diligently pursued their claims against the United States, and proceedings are
moving forward in the Court of Federal Claims and the Federal Circuit

As described above, the Oil Companies and the United States have been
actively litigating in the Court of Federal Claims for several years. Given the
recusal of the original trial judge upon the United States’ motion, the original
rulings and orders in those proceedings were vacated, and it was necessary for the
parties to litigate many of the issues a second time. As a result, the proceedings in
the Court of Federal Claims have taken more time than anticipated. However, the
proceedings are moving forward, and oral arguments in the United States Court of
Appeals for the Federal Circuit are scheduled for January 7, 2014, as noted above.

Since the Oil Companies are continuing to diligently pursue their claims

against the United States in the Court of Federal Claims and the Federal Circuit,

19

 
Case, 2:91-cv-00589-CJC Document 630 Filed 12/06/13 Page 20 of 22 Page ID #:289

there is no reason for this Court to change course by terminating the stay at this
time.

E. Conclusion
For the foregoing reasons, the Oil Companies do not believe that any further
proceedings in this action are necessary at this time. Once the Oil Companies’

contract claims are resolved, the parties, in consultation with this Court, can

determine whether any further proceedings are needed.

o ON NHN OH BR WY PO

NO NO NO WN NH HN WN HN NO Se HS BSB Ke Re Se ee ee ee ee
DH nN KD A F&F WD NY KH DO Dns BD vA B WH NO KF OC

 

20

 
Case (2:91-cv-00589-CJC Document 630 Filed 12/06/13 Page 21 of 22 Page ID #:290
1 Respectfully submitted,
2 PLAINTIFF STATE OF
3 RN et 2 2
‘ Cowitly ( (elim
Dated: December &, 2013 TIMOT PATTERSON
5 Supervising Deputy Attorney
General
6 California Department of Justice
4 Counsel for the State of California, et
al.
8
9 PLAIN re UNITED STATES OF
10 a A en
on be ef £ fF
11 | Dated: December 4, 2013 WILLIAM A. WEINISCHKE
Senior Trial Attorney
12 Environmental Enforcement Section
Environment and Natural Resources
13 Division
United States Department of Justice
14 Counsel for the United States
15
COUNTERCLAIM DEFENDANT
16 UNITED STATES OF AMERICA
17 Coon. 1. Vedio
aon hé he { fe f
18 | Dated: December b, 2013 JOSHUA M. LEVIN
Senior Trial Attorney
19 Environmental Defense Section
Environment and Natural Resources
20 Division
United States Department of Justice
2] Counsel for the United States
22
DEFENDANTS SHELL OIL
23 COMPANY, UNION OIL
COMPANY OF CALIFORNIA,
24 ATLANTIC RICHFIELD
35 COMPANY and TEXACO, INC.
amilhy |. feller
26 behalf of
on BAG
27 | Dated: December 6, 2013 GREG A. CHRISTIANSON, Esq.
Bingham McCutchen LLP
28 Counsel for Shell Oil Company, et al.
21

 

 
Case 2:91-cv-00589-CJC Document 630 Filed 12/06/13 Page 22 of 22 Page ID #:291

DECLARATION OF SERVICE BY U.S. MAIL

Case Name: United States of America, et al. v. Shell Oil Company, et al.
No.: U.S.D.C. Central District, No. 2:91-cv-00589 RJK

I declare:

I am employed in the Office of the Attorney General, which is the office of a member of the
California State Bar, at which member's direction this service is made. I am 18 years of age or
older and not a party to this matter. I am familiar with the business practice at the Office of the
Attorney General for collection and processing of correspondence for mailing with the United
States Postal Service. In accordance with that practice, correspondence placed in the internal
mail collection system at the Office of the Attorney General is deposited with the United States
Postal Service with postage thereon fully prepaid that same day in the ordinary course of
business.

On December 6, 2013, I served the attached JOINT STATUS REPORT

by placing a true copy thereof enclosed in a sealed envelope in the internal mail collection
system at the Office of the Attorney General at 110 West A Street, Suite 1100, P.O. Box 85266,
San Diego, CA 92186-5266, addressed as follows:

William A. Weinischke, Esq.

Greg A. Christianson, Esq. Environmental Enforcement Section
James J. Dragna, Esq. Environment & Nat. Resources Division
Sang (Alvin) Lee, Esq. United States Dept. of Justice

Bingham McCutchen LLP P. O. Box 7611 Ben Franklin Station

355 South Grand Avenue, Ste. 4400 Washington, D.C. 20044

Los Angeles, CA 90071-3106 Counsel for the United States as Plaintiff

Counsel for Shell Oil Company, Union Oil
Company of California, Atlantic Richfield
Company, and Texaco, Inc.

Joshua M. Levin, Esq.

Environmental Defense Section

Environment and Nat. Resources Division

United States Department of Justice _ ae
P.O. Box 7611 .
Washington, D.C. 20044

Counsel for the United

States as Counterclaim Defendant

I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on December 6, 2013, at San Diego,

California.
Linda Jean Fraley A Lhe,

Declarant J Signature Z

 
